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Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 10f51 Page ID #:53

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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA.
WESTERN DIVISION

255 EAST TEMPLE STREET

LOS ANGELES, CA 90012

  

Vincent White, In Pro Per

2603 West Oldfield Street at 3
Lancaster, CA 93536 ,
Email: vinelv@gnet.com
Phone Number: 661-212-8987

 

VINCENT WHITE, et.al.,

, CV12 04622 RK Cy)

 

Plaintiffs Case #: 5
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v May 17, 2012 i.oo &
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EASTSIDE UNION SCHOOL ) ae ry
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DISTRICT ) / ang = Oo
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oO 25 | °
m 6 os | ) Civil Complaint Pursuant To r itlewu S
ted ze ou | ) Of Civil Rights Act
9 Bea )
9 pet haga ) Jury Trial Demanded
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=e
s § | as oe
Be CS! Jurisdiction
> Murisciction

Jurisdiction is conferred on this court pursuant to 42 U.S.C. §

The jurisdiction of this Court is predicated upon 28

2000e-5.
the unlawful

U.S.C. Section 1343, to redress

1331 and
Plaintiff's rights secured, guaranteed and

 

 

 

 

 

deprivation of
protected by federal law. The Court also has jurisdiction
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CENTRAL DISTRICT OF CALIFORNIA
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. Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 2 0f51 Page ID #:54

pursuant to 28 U.S.C. Sections 2201 and 2202 relating to

declaratory judgments.

Parties

2. Plaintiff: Vincent White
Address: 2603 West Oldfield Street, Lancaster, CA 93536

3. Defendant: Eastside Union School District (ESD)
Address: 450006 North 30° Street East, Lancaster, CA 93535

Mrs. Peggy Foster is President of the ESD Board.

Mrs. Janette T. Crawford is Vice President of the ESD Board Of
Education.

Mrs. Martha D. Johnson is Member of the ESD Board Of Board Of
Education.

Dr. Mark Marshall, Director of Student Services, Special
Education, Alternative Education. Currently, Dr. Marshall is
Interim Superintendent of ESD.

Mr. David Howard is the Director of Human Resources.

4. This action is brought pursuant to: Title VII of the Civil
Rights Act of 1964, as amended, codified at 42 U.S.C. § 2000e et
seq., the Civil Rights Act of 1866, as amended by the Civil Rights
Restoration Act of 1991, 42 U.S.C. Section 1981; 42 U.S.C. Section
1981A; 42 U.S.C. Section 1988 for employment discrimination based

on race, color, religion, sex or national origin.

5. Venue is invoked pursuant to 28 U.S.C. s 1391(b) where
Plaintiff resides, and all Defendants re regularly conduct

business and where all the wrongful conduct occurred.
, Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 3o0f51 Page ID #:55

6. Defendant’s conduct is discriminatory with respect to the

following (check all that apply):

(A) X My race or color.

(B) My religion.

(C) KX My sex (or sexual harassment).
(D) My national origin.

(E) My pregnancy.

(F) X Other: Age

7. The conduct complained of in this action involves:
(A) Failure to employ.

(B)X Termination of employment.

(C) Failure to promote.

(D) Unequal terms and conditions of employment.
(E) Reduction in wages.

(F)X Retaliation.

(G) Other acts as specified below:

Facts

 

8. Set forth the facts of your case which substantiate your
claims. List the events in the order they happened, naming

defendants involved, dates and places.

Note: You must include allegations of wrongful conduct as to EACH
and EVERY defendant in your complaint. (You may use additional

sheets as necessary).

Introduction

9. According to their website, Defendant Eastside Union School

District (ESD) is:
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 4o0f51 Page ID #:56

one of the Antelope Valley's oldest school
districts ... The district currently has _ three
elementary schools and one middle school. Eastside
School has K-6 grades, and Tierra Bonita has K-6
grades and Columbia has K-5 grades. Cole Middle
School has Grades 6-8. With growth comes change,
and change sparks new ideas for our future... Our
goal is to establish cohesiveness between our
educational team, our students and the surrounding
community providing our students with the very
best educational opportunity possible.

Procedural History

 

10. Prior to the 2010 - 2011 school year, Plaintiff received a
telephone call from Mr. Howard, Director of Human Resources and
asked Plaintiff if he wanted to be removed from the list to
substitute for the District. Howard stated that Plaintiff was not
substituting enough. Plaintiff declined, there was a silence on
the phone, and Howard said “Thank you Mr. White” and hung up.
Plaintiff recalls Howard doing this during the 2009 - 2010 as
well.

11. On 27 Oct 2010, Mr. Howard, called Plaintiff to inform him of
a negative evaluation form filled out by a teacher. A couple of
weeks later, Howard called again to say that Plaintiff received
another negative evaluation from another teacher. Later, Howard
called back again and verbally informed Complainant that he was
being removed from his position.

12. On 3 Nov 2010, Complainant sent an email to Mr. Howard
informing him that he was going to file an informal complaint
against ESD in attempt to resolve the issue. That same day,

Howard informed via email to Complainant that the reason for

4
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page5of51 Page ID #:57

dismissal was due to job performance. On 3 Nov 2011, Complainant
hand carried an informal complaint. On 30 Dec 2010, Dr. Mark
Marshall, Director - Student Services & Special Education
Division, called Plaintiff in an attempt to resolve the issue. On
5 Jan 20II, Dr. Marshall informed Complainant via email that the
issue was resolved pending a meeting with Roberto Villa,
Superintendent.

13. Later, Complainant was reinstated as a substitute teacher. On
9 Mar 2011, Dr. Marshall emailed Complainant to request a meeting
over a teacher evaluation prepared by Ms Shropshire, who is a 5th
grade teacher at Eastside Elementary. On 13 Apr 2011, Dr.
Marshall met with Plaintiff and addressed the concerns regarding
Ms Shropshire. Dr. Marshall spoke with Plaintiff via telephone
and asked additional questions. On 30 April 2011, Plaintiff
received a letter from Dr. Marshall saying that Plaintiff was
removed from his position.

14. On 2 May 2011, Plaintiff sent an appeal to the California
Department of Education (CDOE), located in Sacramento, CA. After
not hearing from CDOE, Plaintiff filed a complaint on 25 July
2011 with the Office Of Civil Rights (OCR). On 30 July 2011, OCR
stated that they were unable to investigate and transferred the
case to EEOC, located in Los Angeles, Ca. On 3 April 2012,
Plaintiff received a right-to-sue notice. (Attachment #1).

15. Plaintiff has a time limit in which to file a complaint
according to Issa v Comp USA 54 F.3d 1174 (10 Cir. 2003)

Under 42 U.S.C. § 2000e-5(f) (1), plaintiff had
"ninety days in which to file suit after receipt of
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 6of51 Page ID #:58

[the] right-to-sue letter." Witt v. Roadway
Express, 136 F.3d 1424, 1429 (10th Cir.1998)
(holding that "[t]he ninety-day limit begins to run
on the date the complainant actually receives the
EEOC right-to-sue notice").

FIRST CAUSE OF ACTION

ESD Violation of Title VII's Prohibition Against Employment
Discrimination -- Disparate Treatment

16.

The McDonnell Douglas test can be adjusted according to the

case presented as stated by Morris v Indianapolis Public Schools,

972 F.2d 352, (7°? Cir. 1992):

The McDonnell Douglas test most accurately applies
to "hiring" discrimination cases involving alleged
racial prejudice. The Supreme Court recognized that
the definition of the prima facie case elements and
the allocation of burden of production should be
adapted to differing situations which may arise in
Title VII cases. McDonnell Douglas, supra, 411 U.S.
at 802, n. 14, 93 S.Ct. at 1824, n. 14, 36 L.Ed.2d
at 677-78, n. 13.5

Fact #1: Similarly Situated Individuals Were Treated Differently
From Plaintiff

17.

First, plaintiff must show that (1) he is a member
of a protected class; (2) he was qualified for the
position sought; (3) he suffered an adverse
employment action; and (4) similarly situated
individuals outside his protected class were
treated more favorably. Fonseca v Sysco Food
Services of Arizona, Inc., 374 F.3d 840, 847 (9th
Cir. 2004)

Utilizing Fonesca, Plaintiff is an African-American who was

qualified for the position (prior to being hired in 2002,
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 7 of 51 Page ID #:59

Plaintiff was already a substitute teacher for 3 other school
districts); Plaintiff suffered an adverse action by being removed
from his position; Plaintiff alleges that white substitute
teachers who received negative evaluations from 2002 until present
were not removed from their positions in comparison to minority
substitute teachers. No analysis was conducted of the evaluations
to see if Plaintiff’s conduct in comparison to white substitute
teachers were worse. Additionally, Howard or Marshall never

mentioned any positive evaluations Complainant received.

18. Prior to being removed, Plaintiff noticed that there weren’t a
whole lot of minority substitutes anymore. He noticed that there
were additional white substitute teachers. Marcel X (African-
American), Aaron Hamilton (African-American) and Tan Bramer
(Hispanic) all suffered an adverse action from ESD and are no
longer working for the district. The goal is to get rid of
minority substitute teachers:

Decision-makers, of course, may act with
discriminatory intention when they decide to use
criteria that work to the disadvantage of members of
protected groups. Proof of disparate impact, then, can
contribute to a showing of disparate treatment.
Washington v Davis, 426 US 229,242, 48 L Ed 2d597,96 S$

Ct 2040 (1976)

Fact #2 -— Plaintiff Met The Other Standard For Other Prima Facie
Cases

19. There are three prima facie cases that could apply in

Plaintiff’s case:
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 8 of 51 Page ID #:60

20. The second prima facie case is outlined in Aljadir

In individual claims of disparate treatment ..to
prove intent, the plaintiff must show that: 1) he
belongs to a racial minority, 2) he applied for a
job for which he was qualified, 3) he was rejected,
and 4) the position thereafter remained open. The
McDonnell Douglas Court added two (2) other
components to the structure of a Title VII action.

If the plaintiff establishes his prima facie case,
then the defendant has the burden to articulate
some legitimate, nondiscriminatory reason for the
employee's rejection. At this point, the burden of
production shifts back to the plaintiff to show
that the defendant's stated reason for the
plaintiff's rejection was in fact pretextual.
Morris v Indianapolis Public Schools, 972 F.2d 352,
(7 Cir. 1992)

Vv

Substitute Teacher Service (#02-464-GMS) USDC District Of Delaware

(2002):

A prima facie discrimination case under Title VII
requires the plaintiff to show that: (1) he is a
member of a protected class; (2) he is qualified
for the former position; (3) he suffered an adverse
employment action despite being qualified; and (4)
the action occurred under circumstances giving rise
to an inference of unlawful discrimination, such as
when non-members of the protected class are treated
more favorably than the plaintiff. Sarullo v.
United States Postal Serv., 352 F.3d 789, 797 (3d
Cir. 2003); Miller v. Delaware Dep't of Probation &
Parole, 158 F. Supp. 2d 406, 410-11 (D. Del. 2001).

The ultimate issue in cases alleging racial
discrimination in discharge is whether there has
been disparate treatment between members of a
racial minority group and others not of that group.
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page9of51 Page ID #61

Pouncy v. Prudential Insurance Co. of America, 668
F.2d 795, 802 (5th Cir.1982)

21. The third prima facie case is outlined in Aljadir v Substitute

Teacher Service (#02-464-GMS) USDC District Of Delaware (2002):

In a discharge case, the plaintiff must show that
she belongs to a protected class, that she was
qualified for the position, that she was
discharged, and that the discharge occurred in
circumstances giving rise to an inference of racial
discrimination. Ramseur v. Chase Manhattan Bank,
865 F.2d 460, 464 (2d Cir.1989). Put another way, a
plaintiff alleging a discriminatory firing need
only show that he/she was fired from a job for
which he/she was qualified while others not in the
protected class were treated more favorably.
Bellissimo v. Westinghouse Electric Corp., 764 F.2d
175, 179-180 (3rd. Cir.1985), cert. denied 475 U.S.
1035, 106 S.Ct. 1244, 89 L.Ed.2d 353 (1986).

The plaintiff in the present case must show by a
preponderance of the evidence that he was fired as
a substitute teacher while other "nonblack"
substitute teachers were treated more favorably.
The plaintiff must show that defendant acted with
the intent to discriminate against him. Morris v
Indianapolis Public Schools, 972 F.2d 352, (July
1992)

Prima Facie Cases For The Case: First & Second Prong

22. To satisfy the first prong, Plaintiff belongs to a racial
minority and a member of a protected class (African-American
male). To satisfy the second prong, Plaintiff is qualified for the
position. Although Plaintiff has a bachelor’s degree in

accounting, he has been a substitute teacher for ESD since Aug
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 10 0f51 Page ID #:62

2002). Additionally, Plaintiff is a substitute teacher in three
other school districts: Westside Union School District (2002);
Lancaster School District (1996 - 2000 and 2000 - current) and
Palmdale School District (1997).

23. It is unique that Plaintiff is a substitute for three other
school districts because one can compare school districts.
Plaintiff has been employed at the other school districts as long
as he has been employed at the Defendant’s school site. It is
extremely odd that Plaintiff would perform unsatisfactorily in one
school district but perform satisfactorily in all the other school
districts. If Plaintiff’s work performance was bad, why would
Defendant would rehire him?

24. Throughout fifteen years, Plaintiff has been requested many
times throughout all four school districts. Mr. Lexy Conte,
Plaintiff's boss and former principal, attested to Plaintiff’s
experience (Attachment #2):

Mr. White has faithfully served as a substitute
teacher for the Lancaster School District since
October 2000. Mr. White is one of our most
frequently used substitute teachers.. Mr. White
substitutes in all grade levels, departments, and
settings.

Additionally, Plaintiff has also received reference letters from
teachers attesting to his experience (Attachment #3), showing a

consistency shown in 2003 and 2012: -

2003: 18 Mar 2003 — Mark Gross, Principal, Mariposa
School (formerly principal at Joshua School):
Lancaster School District (LSD):Vincent has a

 

10
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 11 o0f51 Page ID #:63

positive style and gentle demeanor with students...
He is adept at writing and implementing lesson
plans and provides students with a structured and
organized instructional program.

7 Mar 2003 Sandra Lyon, former Principal, Amargosa
Creek Middle School, Lancaster School District: Mr
White has been substitute teaching regularly at
Amargosa Creek Middle School since the beginning of
the 2002 - 3003 (sic) school year and has assisted
us by taking two lengthy substitute assignments...
Mr. White has willing done all that is asked of
him, preparing lessons as needed, grading papers...
He has communicated effectively with parents...

2012: 8 May 2012 Mr. Newman, Teacher, (10 years) &
Administrative Intern, LSD: As an administrative
intern, I often am in need of a substitute teacher,
and Vincent White is always on the top of my list.
I know that I can count on him to follow the lesson
plans as well as to treat my students with respect,
kindness, and care.

 

9 Apr 2012 - Mr. Wood, Teacher (14 years), LSD Mr.
White is a well-versed individual when it comes to
teaching multiple classes and various subjects...
However, there are times when you have an
unexpected and intolerable illness that prohibits
you from any classroom preparation. It is with
those unplanned moments, where an individual can
call for Mr. White and not worry about what is
happening in your class. I feel comfortable
knowing that lessons will be completed = and
students are learning.

25 April 2012 - Mr. Brotze Teacher 30 years, LSD:
I consider him an invaluable substitute, a man
with integrity and a connection with children... I

11
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 12 0f51 Page ID #:64

have spoken to him at various times about getting
his credential.

Undated ~- Ms Luna, Students beg me to have Mr.
White return whenever I need a substitute teacher.
Whenever I return to the classroom. I can be
assured that my classroom is orderly and students
are happy.

Prima Facie Cases For The Case: Third Prong

25. To satisfy the third prong, Plaintiff suffered an adverse
employment action by being removed from his position. Plaintiff
satisfies the fourth prong by alleging that either the position
remained open or Caucasian substitute teachers received favorable

treatment.

26. Plaintiff does not have to prove at the prima facie stage
that Defendant’s reason for his removal was due to his job

performance:

To establish her prima facie case, Gill was not
required to disprove the reason given for her
discharge. See Davenport v. Riverview Gardens Sch.
Dist., 30 F.3d 940, 943 (8th Cir.1994). At the
prima facie stage, Gill only needed to prove "that
'[she] was doing [her] job well enough to rule out
the possibility that [she] was fired for inadequate
job performance.' " Crimm v. Missouri Pac. R. Co.,
750 F.2d at 711 750 F.2d 703, 711 (8th Cir.1984)
(citation omitted). See (quoting Gill v Reorganized
School District R-6, Festus Missouri 32 F.3d 376
(8° Cir. 1994)

Plaintiff has provided the following proof that he was
performing satisfactorily:

Fact #2: Plaintiff Was Not Criticized In Prior Years

12
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 13 0f51 Page ID #:65

27. There is a significant difference between hiring and
termination stages:

Defendant argues that plaintiff fails to
establish prima facie case discrimination because
plaintiff was not qualified. (pg. 10)

At the initial hiring stage, proof of
qualification typically requires that the
plaintiff show (s)he had the skills, abilities,
experience and training required by the employer
of all applicants for the job.

In termination cases, however, proof of
qualification requires more. To show that (s)he
was qualified to remain employed, and to eliminate
the most common nondiscriminatory reason for
termination, the plaintiff must show that ‘at the
time of the adverse employment action (s)he was
performing at a level that met her (his)
employer’s legitimate job expectations.’ Brinkley
v Harbour Recreation Club, 180 F.3d 598, 607 (4™
Cir. 1999)

While prior work history is not probative at
the second and third stages of the McDonnell
Douglas test, common sense dictates that it is
relevant at the prima facie stage for determining
whether an employee has at least the minimum
attributes needed to perform the position.
Employers regularly consider a potential
employee’s prior work experience to decide whether
that individual is qualified for a position.
(emphasis is Plaintiff's)

28. From Aug 2002 until Oct 2010, Complainant was never

disciplined due to performance by ESD:

Keller points to the absence of any official
criticism of his performance. In Seimper (v Johnson
& Higgins, 45 F.3d 724, 728 (3d Cir. 1995)), we
concluded that a genuine issue existed as _ to

13
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 14 0f51 Page ID #:66

pretext because of plaintiff's own testimony of
satisfactory performance combined with evidence
that he was not criticized while still employed
Ibid., 721-32. Quoted in Keller v Orix Credit
Alliance, Inc., #955289 (3rd Cir. 1995)
29. However, Mr. Howard came up with a nondiscriminatory reason
for the lack of criticism. In a telephone conversation, Howard
stated that he initiated the evaluation form (Attachment #4)

when he became Human Resources Director in 2007. According to

the minutes of the school district, Howard served as Acting

Director of Human Resources from Jan - June 2007. On 25 June
2007 (2007 - 2008 school year), Howard was appointed as
Director. However, two things are in dispute. Upon being

employed by ESD, Plaintiff was given Substitute Teacher Handbook
2001-2002 School Year which states:

A simple form of evaluating the Substitute Teacher

has been designed. Each principal has the

responsibility of supporting and helping Substitute

Teachers improve the quality of instructional

programs and teaching techniques.
30. Howard is incorrect. A substitute teacher evaluation form
has been in existence since 2001 - 2002 before Howard took over
in 2007. In Complainant's eight year run as substitute teacher
for the ESD, no principal has ever supported or helped Plaintiff
other than disciplining students that were sent out. Plaintiff
is dumbfounded as to how he was performing well in his position

for eight years and then all of a sudden, his performance

declined so dramatically.

14
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 15o0f51 Page ID #:67

31. Howard told Plaintiff about the evaluation form that Ms
Finks filled out. Plaintiff expressed surprise of her negative
evaluation because he substituted for her on 23 Feb 2010 (2009 -
2010) and received nothing negative from her. However, Howard
did say that Plaintiff did receive a negative evaluation from
her. Plaintiff was in her class on 22 Sep 2010 (2009 -— 2010
school year). It is unknown why Howard would wait until the
following school year (2010 - 2011 school year) to inform
Plaintiff. During Howard’s tenure over Human Resources from Jan
2007 until Sep 2010, Howard never informed Plaintiff about his
performance. Plaintiff alleges that Howard was trying to gather
enough negative evaluations in order to remove him.

32. Additionally, Plaintiff had other jobs for ESD, but the
Defendant never showed him the evaluations from the other

teachers that Plaintiff worked for:

 

 

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2007 — 2008

 

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2/15/2008 =

 

= 4/02/2008. Ce
5/05/2008 Cole’ McDonald 1539
5/07/2008 Oks
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- 5/09/2008
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8/20/2008
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2 B/297/200 ce ( a
9/02/2008 Cole Patel 1847
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41/12/2008
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9724/2008" °
11/25/2008

 

15
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 16 0f51 Page ID #:68

 

 

"7270172008.
12/02/2008

 
   
 
   

12/04/2008
12/05/2008
12/11/2008

  

Pedersen

  

 

° Requested by teacher

 

Teacher Job #

 

2008 — 2009 Sch

 

   
 

1/20/2009 Tierra Bonita South* Evenson 2550

  

SRequested By Ms Marquez, Secretary

 

2009-2010 School Teacher Job #

    
   
  

9/08/2009 Eastside Elementary Humphrey 139

9/16/2009 --Col
oe paces __ Ea

 
 
   
 

Scheider

5/11/2010

 

2010-2011 School Teacher Job #
8/30/2010 Tierra Bonita Fletcher 1745

    
 
  
 
 
   

 

“9/07/2010
9/16/2010.
9/22/2010

     

Guiterrez 2111
onzalez

CUES IPTOU Eastside Elementary
02/03/2011 Eastside Elementary ~
03/07/2011 _ Eastside Ele

 

 

 

16
Case 2:12-cv-04622-RGK-3JC Document 3 Filed 06/01/12 Page 17 of 51 Page ID #:69

 

 

33. In the 23 Mar 2012 letter from EEOC:

Respondent states that in January 2007, they
initiated a substitute teacher evaluation form.
Respondent states that between October 2009 and
October 2010, you received evaluations from
teachers you substituted for and that deficiencies
noted in the evaluations were discussed with you.

34. Plaintiff denies having anybody discuss with him about
evaluations between Oct 2009 and September 2010. The only time
that Howard called Plaintiff about his performance was in October
2010.

35. What about all the other classes that Plaintiff was in? Was
Plaintiff receiving negative evaluations from all the teachers?
Recall that Plaintiff substituted for Ms Finks on 22 Sep 2010
(2010 ~- 2011 school year). Howard never told Plaintiff that Ms
Finks wrote a negative evaluation of Plaintiff on 23 Feb 2010
(2009 - 2010) school year. If Howard had a conversation with
Plaintiff, why was he allowed to substitute for Ms Finks’ class
again?

Fact #3 - No Accomplishments Were Stated By Defendant

36. In 2006 - 2007 school year, Cole Middle School (CMS) was in a
crisis as stated by Board of Trustees board meeting:

May 22, 2006 - Chuck Pederson, Eastside Teachers
Association (ETA) President, stated there had been
much rhetoric over the last few week at Cole Middle
School (CMS) ... He said it was the most turbulent
school year he had seen. It was the first year he
had seen administration changes midyear.

17
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 180f51 Page ID #:70

Mr. Pederson stated that a small percentage of Cole

staff would like to see Mr. Smith [Smith was the

principal at the time] continue as Principal for

2006/07 ... Fire alarms were being set off almost

daily by students ... Eighteen new teachers had

been hired for the 2005/06 school year and new

teachers needed guidance. These teachers were not

comfortable coming forward for assistance or saying

anything about the administration. Pg. 3
37. Recall that Plaintiff is a substitute teacher for three other
school districts. Out of all the schools, CMS was the worst school
that Plaintiff has been. CMS was the only school to have a deputy
on campus. The reason why things were bad at CMS is due to the
Defendant not having a school site for children being disruptive
at the schools. The students would simply be suspended and sent
back to the classrooms. Much later a community day school separate
from the campus was built.
38. Lori Gacho (who is over the SubFinder system) would call
Plaintiff on many occasions to substitute at CMS. Many substitutes
refused to go. However, Plaintiff went on several occasions. One
day, Plaintiff talked to Gacho and wanted to resign due to the
stress. Ms Gacho recommended that Plaintiff talk to Dr. Riccio,
who was the Superintendent at the time.
39. Due to Plaintiff’s efforts, Riccio initiated a policy which
states that each time a substitute would come in and have no
lesson plans, the substitute would be paid at a higher rate.
Normally, a substitute would carry his/her timesheet to each

school. However, CMS was the only school to require timesheets to

stay at CMS due to the new policy.

18
. Case 2:12-cv-04622-RGK-JC Document 3

Filed 06/01/12 Page 19o0f51 Page ID#:71

40. Over time Complainant has had to deal with issues that he has

not been trained for.
position, Plaintiff wrote to Mr.

time about the conditions at CMS

After Dr.

Riccio was removed from his
Ross,

(Attachment #5)

who was principal at the

Fact #4 — Plaintiff’s Performance Was Satisfactory

To establish her prima facie case,

Gill was not

required to disprove the reason given for her

discharge.
Sch. Dist.,
the prima
prove "that
enough to rule out the
was fired for inadequa

facie

See Davenport v.
30 F.3d 940,
Stage,
'[she] was doing [her] job well

Riverview Gardens
943 (8th Cir.1994). At
Gill only needed to

that [she]

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possibility
te job performance.'

 
 

Crimm v. Missouri Pac. R. Co., 750 F.2d 703 at
711 (8th Cir. 1984) (citation omitted). See
quoting Gill v Reorganized School District R-6,
Festus Missouri 32 F.3d 376 (8 Cir. 1994)

A court must examine Piaintiff’s evidence
independent of the nondiscriminatory reason
‘produced’ by the defense as its r 7
terminating plaintiff quoting Cline v

 
 
     

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Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 200f51 Page ID #:72

41. Defendant states that they discussed Plaintiff’s job
performance with him during the 2009 - 2010 and 2010 - 2011 school
year. Plaintiff denies that this took place. However, if
Plaintiff’s performance was deficient, why did he receive a letter
from ESD: stating the following:

We are making this offer to you based upon the
district's continuing need for substitute teachers
as demonstrated in prior years as well as your
excellent work history and record of availability.
(Attachments #6) (Emphasis is Plaintiff)

Fact #5 - Howard & Marshall Set Up Complainant To Fail

Other circuits have recognized that pretext can be

proven by showing that a supervisor set an employee

up to fail. Watson v Norton #991450 (10 Circuit

1999) (quoting Serrano v DFE Puerto Rico Inc. 109 PF.

3d 23, 26 (1st Cir. 1997):
42. Howard knew of a negative evaluation in a prior school year,
but never informed Plaintiff about it. Plaintiff alleges that
Howard wanted to get rid of Complainant but did not have enough
negative evaluations. The school year just started in August, so
three negative evaluations should not have gotten Complainant
fired from his job. Again, there was no in-depth investigation of
Plaintiff’s eight-year history with ESD. Marshall reinstated

Plaintiff just so they could build their case stronger in trying

to dismiss Plaintiff.

Prima Facie Cases For The Case: Fourth Prong

20
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 210f51 Page ID#:73

43. Some prima facie cases have a fourth prong that states that a
plaintiff has to prove that the replacement was by someone of
another race. That view is incorrect as stated by Davenport v

Riverview Gardens School District 30 F.3d 940 (8 Cir. 1994):

As to the fourth element, the district court
erroneously believed that plaintiff was required to
prove that he was replaced by someone outside his
protected class. Slip op. at 5, 9 (Jan. 14, 1993).
While proof of replacement by a person outside the
protected class will satisfy the fourth element, it
is now well-settled that such proof is not
required. Walker V. St. Anthony's Medical
Center,881 F.2d 554, 558 (8th Cir.1989) (no such
per se requirement has traditionally been imposed
in Title VII cases). "Rather, Title VII has been
interpreted to require only that, in addition to
the first three elements of a prima facie case, the
plaintiff demonstrate that his or her discharge
occurred in ‘circumstances which allow the court to

infer unlawful discrimination.'" Id. (citing Craik
v. Minnesota State Univ. Bd.,731 F.2d 465, 469 (8th
Cir.1984)).

SECOND CAUSE OF ACTION

ESD Violation of Title VII's Prohibition Against Employment
Discrimination -~ Disparate Impact

In order to establish a prima facie case of
discrimination under a disparate impact analysis,
complainant must show that the challenged practice
or policy had a disproportionate impact on members
of her protected class.

Specifically, complainant must: (1) identify the
specific practice or policy challenged; (2) show a

21
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 22 0f 51 Page ID#:74

statistical disparity; and (3) show that’ the
disparity is linked to the challenged policy or
practice. Watson v. Fort Worth Bank and Trust, 487
U.S. 977 (1988). The burden is on the complainant
to show that "the facially neutral standard in
question affects those individuals [within the
protected group] in a significantly discriminatory
pattern." Dothard v. Rawlinson, 433 U.S. 321, 329
(1977); see also Gaines v. Department of the Navy,
EEOC Petition No. 03990119 (August 31, 2000).

To establish unlawful disparate impact, the
plaintiff must point to employment practices that
are based upon facially neutral criteria but that
in fact fall more harshly on one group and cannot
be justified by business necessity; no proof of
discrimination Y is necessary. Teamsters v United
States, 97 s.et. 1843, 1845, nt.15.

Defendant’s Reason For 1°* Removal

44. After completing a job at a particular school, a teacher is
supposed to fill out an evaluation form. There are 5 categories
to be ranked (excellent, good, fair and poor). If the rankings
are fair or poor, the teacher is to write comments. The rankings
used are: 1. Lesson Plans Followed; 2. Materials Left In Good
Order; 3. Classroom Left In Good Order; 4. All Instructions
Followed; 5. Student Feedback. The form also asks if the teacher
would recommend the substitute for another assignment. At the
bottom of the form is the teacher’s signature and date along with
principal and Director of Human Resource initials and date.

45. Howard called to inform Plaintiff of a negative evaluation
given by Ms Finks, a teacher at Cole Middle School (CMS).
Plaintiff substituted for Finks on 22 Sep 2010. According to

22
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 23 0f51 Page ID #:75

Howard, Finks was not pleased with Complainant's performance,
stating that the class was very noisy. Ms Finks periodically
returned to her class during the day. Finks also stated that
there was a knife on her desk and assumed that it was the
Plaintiff. Plaintiff explained that he left a note for Ms Finks
indicating that he was unable to control classroom noise. Howard
stated that Finks attached the note to her evaluation.
Complainant was informed by one of the students that the class
was like this before, but the teacher recently began to address
it. Howard further stated that the administration at CMS felt
that things were not working with Complainant, so Howard made the
decision to remove Complainant from this school site.
46. Approximately a week and a half later, Mr. Howard called and
stated that Ms Bryant from Eastside Elementary School (5, 6, & 7
Oct 2010) had given Complainant a negative evaluation, stating
that lesson plans were not followed; classroom was not left in
good order; inappropriate comments were made to the children; and
children were allowed to stand in their chairs. This week, Howard
called to say that Ms Guiterrez (Complainant substituted for her
on 22 Oct 2010) called to say that she wrote a negative
evaluation stating that lesson plans were not followed and
Complainant made inappropriate comments. Howard stated that due
to all the negative evaluations, he decided to remove Complainant
from his position.
Plaintiff’s Response To 1°* Removal
48. Regarding Ms Finks, Plaintiff told Howard that it was unfair

to attempt to control classes that were already out of control

23
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 240f51 Page ID #:76

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prior to his arrival. Again students told Plaintiff that the class
was always out of control. A teacher informed Complainant that Mr.
Pollack, principal at CMS, instituted a new policy that frowned
upon sending a student to the office for behavior issues. This put
pressure on Plaintiff because Finks did not leave any notes on
what to do with behavioral issues.

49. Regarding Ms Bryant, Plaintiff had worked for Ms Bryant for
three days. Howard never mentioned what inappropriate comments
were made. Due to bad weather, children played a game in which
they were seated on their desks. No one was standing on their
chairs. Plaintiff left detailed notes explaining what took place.
Additionally, some of the lesson plans were not followed because
of an assembly that Ms Bryant did not note in her plans. ~ Howard
stated that Plaintiff could still work for Eastside Elementary,
but to not take any more jobs from Ms Bryant.

50. Regarding Ms Guiterrez, Howard stated that lesson plans were
not followed, but Complainant talked to Guiterrez via cell phone,
and Guiterrez stated that Complainant did a very good job with her
class, things were in order, and that the children liked
Plaintiff. Howard stated that Guiterrez became "scared" that
Complainant would call her cell phone. Complainant stated that
Guiterrez left her phone number in the lesson plans (Attachment
#7) In the event that lesson plans were not followed, Guiterrez
Stated that to have fun, run the class how you fill (sic) most
comfortable! !!. However, the lesson plans were followed.
Additionally, Plaintiff made copies of his notes to Guiterrez

(Attachments #8).

24
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 250f51 Page ID #:77

Defendant’s Reason For 2™ Removal
51. After being reinstated, Complainant received a negative
evaluation from Ms Shropshire from Eastside Elementary School (7
Mar 2011). According to the response dated 23 Mar 2012 sent to the
EEOC, Defendant stated:

Respondent states that after substituting for
Letitia Shropshire on March 7, 2011, Mrs.
Shropshire reported to Dr. Marshall that you did
not follow her lesson plans, some of the blinds
were broken, that you allowed students to throw a
ball, songs were played on the radio with profane
language, and most importantly you made
inappropriate comments to the the students.
Respondent states that Dr. Marshall reviewed all
the available information and decided to end the
relationships with you as the problems were similar
to previous incidents.

Plaintiff's Response To 2" Removal
52. Regarding Ms Shropshire, Mr. Marshall never produced any
statements written by the students about inappropriate comments
made. Shropshire states that lesson plans were not followed, but
did not attach Plaintiff’s notes as to what was not covered and
why. For example, in her notes, Plaintiff believes that Shropshire
wanted the children to play outdoors. However, the weather was

poor that day.

53. Students were not standing on their desks. They were sitting
on their desks to play a game indoors due to inclement weather
outdoors. The game was called "Silent Speedball" in which a small
ball is tossed back and forth. The curtains were not damaged.
They were already in disrepair. During lunchtime (hours before the

25
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 26 of 51 Page ID #:78

2

game indoors), Plaintiff wanted to close the curtains~ but the
curtains (made out of soft fabric) were too badly damaged to
close. Before attempting to close the curtains, Plaintiff had to

remove several books that were lying against the curtains.

Using An Evaluation Form Improperly To Remove Minority
Substitutes Creates Disparate Impact

 

54. Plaintiff alleges using the evaluation form improperly
creates a disparate impact upon minority substitute teachers who
are removed from their positions at a higher rate in comparison to

white substitute teachers:

(t)he critical issue ... is whether members of one

sex are exposed to disadvantageous terms or

conditions of employment to which members of the

other sex are not exposed Oncale v Sundowner

Offihore Services, Inc. (1998) 523 U.S. 75, 80-81

(quoting Singleton v. U.S. Gypsum Co. (2006).

Cal.AppAth)No. B184623.
55. Additionally, Plaintiff alleges that white substitutes have
exhibited egregious behavior equal to or more than Plaintiff's
behavior, but have not been disciplined or fired. A determination
was used to remove Plaintiff from his position based on a teacher
evaluation form. Looking at the form, it is very subjective,
meaning the opinions are based solely on the teacher. For example,
if a teacher states that a substitute teacher used inappropriate
comments, then those comments allegedly made should be listed on
the evaluation form to allow the substitute teacher to respond. An

inappropriate comment to someone else might not be appropriate to

others.

26
. Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 27 0f 51 Page ID #:79

56. Additionally, by stating that lesson plans were not followed,
the teacher should list down exactly what was not followed in
order for the substitute to respond. A teacher should staple the
substitute teacher's notes to the evaluation so the reviewer can
attempt to see if there was any reason to not follow the plans.

57. For example, Plaintiff recalls an incident in which lesson
plans were not followed due to a "code blue" (lockdown of school
campus) This lockdown prevented another period from coming into
the class, which meant that lesson plans were not followed.
Another time a fire alarm pulled by a student prevented Plaintiff
from completing the teacher's lesson plans.

58. Assuming Howard initiated this evaluation form, did Howard
initiate any written instructions on how to implement the
evaluation form? How many evaluation forms can a substitute
teacher receive before he/she is removed? How many evaluation
forms are filled out by the same teacher who always has nothing to

say positive about substitute teachers?

59. Additionally, the ESD does not list what is essential function

of the job in order to be rated:

The term ‘essential function’ is defined as ‘the
fundamental job duties of the employment position
the individual with a disability holds or desires
_..Determining whether a particular function is
essential is a factual inquiry... In making this
determination, courts must give consideration to
the employer's judgment as to what functions of a
job are essential, including those functions
contained in a written job description. Davidson v
America Online, Inc., #01-4253 (lOth Cir. 2003)

27
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 28 0f 51 Page ID #:80

60. On information and belief, the Defendant’s process of
evaluating minorities negatively impacts minority employees in
general. This process leaves white substitute teachers that either

have similar or worse evaluations than minority substitutes.

61. Since Howard has been over the Human Resources Department, the
number of minority teachers has not grown. It is important to
examine the culture of an organization to see if a discriminatory

atmosphere exists:

[W]e recognize that proof of a discriminatory
atmosphere may be relevant in proving pretext since
such evidence does tend to color to the employer's
decision making processes and to the influences
behind the actions taken with respect to the
individual plaintiff. Antol wv Perry, Dept of
Defense, Defense Logistics Agency #95-3254 (3rd
Cir.1995)

62. For example, in a dissent in Gill v Reorganized School
District R-6, Festus Missouri 32 F.3d 376 (8 Cir. 1994), Heaney,

Senior Circuit Judge stated:

The Festus School District enrolls a significant
number of black students. During the school years
1990-91, 1991-92, and 1992-93 there were no black
teachers at Festus Middle School. Deposition of
John Richeson (Aug. 20, 1992), App. at 246. At the
time of her removal, Gill was the only black
substitute teacher. Id. at 244.

Statistical Evidence Shows A Disparity

as stated by

28
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 290f51 Page ID #:81

The [Ninth Circuit] court explained that
statistical evidence is 'unquestionably relevant'
in a Title VII disparate treatment case for two
reasons. Diaz v American Telephone & Telegraph, 752
F.2d at 1362 (9th Cir. 1985). First, statistical
information... is helpful in establishing a prima
facie case...

Second, a plaintiff is also entitled to use
statistical evidence to show that a defendant's
articulated nondiscriminatory reason for the
employment decision in question is pretextual.
Id. At 1363)... Subsequent to Diaz, the Ninth
Circuit reaffirmed the idea than an employer's
general discriminatory pattern is relevant to an
individual disparate treatment case. Avila v
Select Temporaries Inc. #01B00050 (Office Of The
Chief Administrative Hearing Officer (May 2002):

63. This is similar with the Defendant’s statistics regarding the

number of African-American students:

 

Year Whites Blacks Hispanics

  
 

 

  
 
  

20 :
006-2007 17. 5% 25.3%

Source: California Dep oO

The number of Blacks attending the Defendant’s schools is a
“significant number” Regarding this case, there are not enough
minority teachers at the Defendant’s schools:

Teachers At Eastside Union School District
M BF

        

 

   

or)

 

2008-2009 21
2006-2007 25 897

 

29
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 30 0f51 Page ID #:82

 

2002 — 2003 17 76 0 4 0 4
2001-2002 21°77. «0 .. 4 1. 6
Source: California Dept Of Education DataQuest

 

The population of the minorities in comparison to the diversity of
the staff is very poor. For example, 8% of teachers are Black

while 32% of students at the ESD are Black.

64. Analyzing the data of teachers, minorities are lagging in
comparison to white males/females. What is alarming is that the
number of black males that have been zero from 2007 - 2009. This
means an “inexorable effect:”

An inexorable zero occurs when no members of the
group alleging discrimination alleging
discrimination have been hired. Thus, in our
example, if no women had been hired among the 178
actual hires for this employer, then the
inexorable zero of women would suggest a pattern
or practice of discrimination. See also Capaci v
Katz & Besthoff, Inc., 711 F.2d 647, 32 Fair Empl.
Pr) 961,32 Empl. Prac. Dec. (CCH) P 33769 13 Fed.
R. Evid. Serv. 1815 (5™ Cir. 1983)

Census Data Shows Disparity

The use of census data is an appropriate method of
demonstrating discrimination. Hazelwood School
District v. United States, 433 U.S. 299, 97 S.Ct.
2736, 53 L.Ed.2d 768 (1977) (quoting Capaci v Katz
& Besthoff" Inc. 711 F2d 647 (5™ Cir. 1983)

65. All the practices and policies that the Agency failed to
follow created a statistical disparity. The following census data
is from the Los Angeles Almanac website and the Antelope Valley

Press newspaper:

30
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 310f51 Page ID #:83

 

 

African- American Hispanic _ White
Lancaster Palmdale Lancaster Palmdale Lancaster —_ Palmdale
Census 1990 7.43% 6.41% 15.12% 21.94% 73.00% 66.98%
2000 «16.008 14.598 24.138 37.718 52.008 41.008
2010 19.70% 14.10% 38.00% 54.40% 34.20% 37.39%

 

66. The African-American population in surrounding cities has
grown while Whites have been in decline. The Defendant has
initiated a policy to not increase the population of minority
teachers in proportion to the student population. At the same
time, the Defendant removes minority substitute teachers and

do not hire either of them:

An inclusive recruitment effort enables
employers to generate the largest pool of
qualified applicants and helps to ensure that
minorities and women are not
discriminatorily excluded from employment.
Shuford v Alabama State Board of Educ., 897
F.Supp 1535, 1553-54 (M.D. Ala. 1995) (quoting
Duffy v Wolle 123 F.3d 1026 (8*Cir. 1997:

ESD Is Not Implementing Diversity Among Its Staff (Statistical
Evidence)

The California Department of Education supports
high-quality educational programs for California's
diverse student population through its educational
leadership role and places great importance on
cultivating a diverse staff that understands and
promotes the intellectual, ethical, cultural, and
physical growth of each student. (Source:
www.cde.ca.gov) (emphasis is Plaintiff)

In its mission statement, the Defendant states they are to:

31
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 32 0f 51 Page ID #:84

provide a program of educational excellence within
a caring and motivating environment through a team
commitment, to meet the needs of an increasingly
diverse and changing community.

67. The Defendant creates disparate impact by failing to achieve
diversity among its staff, thereby creating a lack of diversity
with minority substitute teachers. When Plaintiff is a substitute
teacher at ESD, the majority of the time he is the only African-
American male at the schools. If the school district is lagging
with teachers, it is not a far assumption to make that African-
American male substitute teachers are nonexistent. Plaintiff
alleges that African substitute teachers are removed at a much
higher rate than white/female substitutes.

Teachers — Eastside Union School District
Year Whites _ Blacks ispani
2008-2009 72.5% Se
2007 — 2008 81.3%
2006-2007 77.6%
2005 — 2006 70.4% _
2004-2005 80.8%
2002 — 2003 77.3% _
2001 - 2002 84.0%
Source: California Dept Of Education DataQuest

 

  

 

 

African-American Hispanic White

 

 

  
      

Census 1990 7.43% 6.41% 15.12% 21.94% 73.00% 66.98%

 

2010 19.70% 14.10% 38.00% 54.40% 34.20% 24.50%

 

32
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 33 0f 51 Page ID #:85

68. Analyzing census data, Whites have been declining and
minorities have been increasing. However, over 70% of teachers are
white at ESD. Plaintiff alleges Defendant wants to keep ESD white

while shutting out minorities as teachers and substitute teachers.

ESD Is Not Implementing Diversity Among Its Staff (Statistical
Evidence)

An inclusive recruitment effort enables employers
to generate the largest pool of qualified
applicants and helps to ensure that minorities and
women are not discriminatorily excluded from
employment. Shuford v Alabama State Board of Educ.,
897 F.Supp 1535, 1553-54 (M.D. Ala. 1995) quoting
Duffy v Wolle 123 F.3d 1026 (8 Cir. 1997)

69. Defendant shows no proof of recruiting efforts to try and
increase minorities. It is not a far stretch to allege that the
ESD is not following its mission statement in that statistical

evidence shows little or no minorities that the ESD has failed to

use recruitment methods to attract minorities to their school

district.

FOURTH CAUSE OF ACTION - REPRISAL

Title VII prohibits discrimination against a
current employee, former employee, or’ applicant
because he made a charge, testified, assisted, or
participated in any manner in an investigation,
proceeding, or hearing under Title VII,@ 42 U.S.C.
'2000 (e) (3) (a). Title VII also prohibits
discrimination against a current or former employee
or applicant because he has opposed any practice
made in unlawful practice by Title VII, 42 U.S.C.
'2000e-3(a) the courts have held that an employee

33
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 340f51 Page ID #:86

is protected if he or she had a reasonable and good
faith belief that the practice they opposed
constituted a Title VII violation even if it turned
out that the practice they opposed was not a
violation of Title VII... Dee v. Colt Construction

th
and Delivery Company, 28 F.3d 1446 (7 Cir.1994).

Additionally, retaliation is:

wa separate violation of Title VII. "To recover
for retaliation, the plaintiff 'need not prove the
underlying claim of discrimination which led to
her protest,' so long as she had a reasonable good
faith belief that the discrimination existed."
Meeks v. Computer Assocs. Int'l., 15 F.3d 1013,
1021 (11th Cir.1994) (quoting Tipton v. Canadian
Imperial Bank of Commerce, 872 F.2d 1491, 1494
(llth Cir.1989)).

In order to establish a prima facie case of
retaliation under Title VII, a plaintiff must
prove the following elements: (1) she participated
in an activity protected by Title VII; (2) she
suffered an adverse employment action; and (3)
there is a causal connection between the
participation in the protected activity and the
adverse employment decision. See Farley v.
Nationwide Mut. Ins., 197 F.3d 1322, 1336 (11th
Cir.1999). (quoting Gupta v Florida Board of
Regents 212 F.3d 571 (11 Cir. 2000):

Proof of reprisal can be shown two ways:

This Court, however, has consistently held that
proof of causation can be shown either: (1)
indirectly, by showing that the protected activity
was followed closely by discriminatory treatment,

34
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 35 0f51 Page ID #:87

or through other circumstantial evidence such as
disparate treatment of fellow employees who
engaged in similar conduct; or (2) directly,
through evidence of retaliatory animus directed
against the plaintiff by the defendant. See
Cosgrove, 9 F.3d at 1039. Cosgrove v. Sears,
Roebuck & Co., 9 F.3d 1033, 1039 (2d Cir. 1993)
(quoting Gordon v New York City Board of
Education, #99-9503, (2° Cir 2000):

70. Plaintiff satisfies the first prong because he participated in
an activity protected by Title VII by filing an informal complaint
based on discrimination on 3 Nov 2010 against the Defendant after
being removed from his position. After filing the complaint, the
Defendant initiated an investigation and reinstated Plaintiff on 5
Jan 2011. Plaintiff satisfied the second prong when the Defendant
removed him from his position a second time on 30 April 2011. To

prove a casual connection requires:

.a@ plaintiff only to demonstrate " 'that the
protected activity and the adverse action were not
wholly unrelated.' " Clover v. Total System

Services, 176 F.3d 1346, 1354 (llth Cir.1999)
(emphasis added) (quoting Simmons v. Camden County
Bd. of Educ., 757 F.2d 1187, 1189 (11th Cir.1985)).
We have plainly held that a plaintiff satisfies
this element if he provides sufficient evidence
that the decision-maker became aware of the
protected conduct, and that there was close
temporal proximity between this awareness and the
adverse employment action. See Clover, 176 F.3d at
1354 (citing Goldsmith, 996 F.2d at 1163-64).

Moreover, a close temporal proximity existed
between Farley's termination and his supervisors’

35
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 36 0f51 Page ID #:88

knowledge of the complaint. The charge was made May
19, 1995 and Farley was fired seven weeks later on
July 10, 1995. We find this timeframe sufficiently
proximate to create a causal nexus for purposes of

establishing a prima facie case. Farley v
Nationwide Mutual Insurance 197 F.3d 1322 (11™ Cir.
1999)

71. Plaintiff satisfies the third prong because the protection in
a participated activity is closely related to Plaintiff getting
removed from his position for a second time. Plaintiff was

reinstated on 5 Jan 2011 and was removed on 30 April 2011.

FIFTH CAUSE OF ACTION — AGE DISCRIMINATION — DISPARATE TREATMENT &
DISPARATE IMPACT

In disparate-treatment cases brought under Title
VII of the Civil Rights Act of 1964 or the Age
Discrimination in Employment Act (ADEA), plaintiffs
must show that their employers treated them less
favorably because of the employee’s membership in a
protected class, such as race, gender, or age. The
employee must prove through direct or
circumstantial evidence that the discrimination was
intentional. In contrast, a disparate-impact claim
does not require proof of an _ intention’ to
discriminate. Instead, showing that a facially
neutral employment practice has a
disproportionately adverse impact on a protected
group states a prima facie case of unlawful
disparate-impact discrimination. Disparate-Impact
Claims under the ADEA, Vol. 28 No. 6 by Carla J.
Rozycki, Emma J. Sullivan

Accordingly, to establish a prima facie case of
age discrimination under a "failure-to-hire"
theory, Lewis must show (1) that he belongs to the
protected class, (2) that he applied for and was
qualified for the job, (3) that despite his

36
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 37 of 51 Page ID #:89

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qualifications he was rejected, and (4) that the
employer either ultimately filled the position
with someone sufficiently younger to permit an
inference of age discrimination or continued to
seek applicants from among those having Lewis’
qualifications. Barber V. CSX Distribution
Services, 68 F.3d 694, 698 (3d Cir. 1995); see
also Coe v. Yellow Freight System, 646 F.2d 444,
448-49 (10th Cir. 1981).

72. Plaintiff alleges that ESD discriminated on the basis of age
trying to either replace him with someone younger than 40 or to
keep substitute teachers under 40 years of age. As stated in

Witcher v Sodexho, Inc., #07-21 6 (3rd Cir. 2007):

In order to meet his initial burden of establishing
a prima facie case of discrimination, appellant
must present evidence that he "(1) was over forty
years old at the time ,of the adverse employment
decision; (2) is qualified for the position in
question; (3) suffered from an adverse employment
decision; and (4) that his employer replaced him
with someone sufficiently younger to permit a
reasonable injerence of age discrimination." Id at
184-85 (citing Potence v. Hazleton Area Sch. Dist.,
357 F3d 366, 370 (3rd Cir. 2004); Anderson v.
Consolo Rai/ Corp., 297 F.3d 242, 249 (3d Cir.

2002)).

73. Using age discrimination under a disparate treatment theory,
the first prong is satisfied by belonging to a protected class.
The second prong is satisfied by being qualified for the job. The
third prong is satisfied because he was removed from his position.
The fourth prong is satisfied because either the Defendant filled

the position with someone younger or continued to seek applicants.

37
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 38 0f 51 Page ID #:90

74. Using the age discrimination under a disparate impact theory,

Plaintiff alleges that the use of a performance evaluation allows

the Defendant to remove minorities as substitute teachers

and

allows the Defendant to hire Caucasian substitutes and/or keep

them employed with similar or worse evaluations.

SIXTH CAUSE OF ACTION -— VIOLATION OF 14™ AMENDMENT DUE PROCESS

CLAUSE

To state a claim for a violation of procedural due
process, a plaintiff must allege that: “(1) he was
deprived [by state action] of an individual
interest that is encompassed within the Fourteenth
Amendment’s protection of tJlife, liberty, or
property, and (2) the procedures available to him
did not provide due process of law.” Biliski v. Red
Clay Consol. Sch. Dist. Bd. of Educ., 574 F.3d 214,
219 (3d Cir. 2009) (quoting Hill v. Borough of
Kutztown, 455 F.3d 225, 234 (3d Cir. 2006)
(internal quotation marks omitted)) (quoting Hall v
Easton Area School District, #10-7603 (USDC Eastern
Dist PA (2012)

Investigation Not According To Regulation

This court has held in the past that an
employer’s failure to follow its own internal
employment procedures can constitute evidence of
pretext. Giacoletto Vv Amax Zinc Co., Inc.,
954F.2d 424, 427 (7 Cir. 1992)

Deviations from standard procedure without
explanation or justification are sufficient to
support an inference of pretext. Andre v Dept Of
Defense, EEOC Appeal #01944562 Feb 22, 2002;
Hoovey v Dept of HUD, EEOC Appeal #01973965
August 31, 2000; quoting Douglas v Dept of

38
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 39 0f51 Page ID#:91

Agriculture, EEOC Appeal #0120072548, August 28,
2007)

75. Upon receiving the negative evaluations from only a few
teachers, Howard did not do a through investigation enough to
gather additional information. Howard did not compare the positive
evaluations given by teachers. No investigation was conducted
other than letting Plaintiff be terminated. Once Plaintiff was
reinstated by Defendant and removed for the second time, Dr.
Marshall failed to follow the regulations:

Lack of in-depth investigation before termination
may support inference that employer's motives were
not legitimate. Rademaker v Nebraska 906 F.2d 1309,
1312 (8th Cir. 2000) (quoting Gill v Reorganized
School District R-6 Festus Missouri 32 F.3d 376 (8™
Cir. 1994) (Heaney, Circuit Judge, dissenting).

It appears that there are two avenues when filing a complaint:
Avenue #1 - Uniform Complaint Procedures (UCP)

76. The first avenue to filing a complaint in outlined by Uniform

Complaint Procedures (UCP) with comments by Plaintiff:

The Eastside Union School District shall
investigate and seek to resolve complaints using
policies and procedures known as the Uniform
Complaint Procedures (UCP) adopted by our local
board..Complaints alleging discrimination must be
filed within six (6) months from the date the
alleged discrimination occurred or the date the
complainant first obtained knowledge of the facts
of the alleged discrimination, unless the time for
filing is extended by the superintendent or his or
her designee.

39
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 40 0f 51 Page ID #:92

Comments: Plaintiff submitted his complaint within six months of
the date of discrimination.

Complaints will be investigated and a written
Decision or report will be sent to the complainant
within sixty (60) days from the receipt of the
complaint. This sixty (60) day time period may be
extended by written agreement of the complainant.
The LEA person responsible for investigating the
complaint shall conduct and complete the
investigation in accordance with sections 4680-4687
and in accordance with local procedures adopted
under section 4621.

77. Comments: A written decision or report was never sent to
Plaintiff. It is important to note that everything that was done
by Dr. Marshall or Mr. Howard was always verbal. For example, Dr.
Marshall told me verbally that he visited all four principals and
determined that it was in the best interests of ESD that
Plaintiff is reinstated. Upon filing a complaint with the EEOC,
Marshall instead stated that three of four principals did not
want Plaintiff back at their schools. If that was true, why was

Plaintiff reinstated?

Avenue #2 - Administrative Regulation (AR) 4031
The following procedures shall be used when a
district employee or job applicant has a complaint
alleging that a specific action, policy, procedure
or practice discriminates against him/her on any
basis specified in the district's nondiscrimination
policies...

1. The complaint should be initiated promptly after
a complainant knew, or should have known, of the
alleged discrimination.

Comments: Complaint was initiated promptly.

40
Case 2:12-cv-

2. All
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04622-RGK-JC Document 3 Filed 06/01/12 Page 41 of 51 Page ID #:93

parties involved in allegations of
crimination shall be notified when a

complaint is filed, when a complaint meeting or

hea
rul
not
to

ring is scheduled, and when a decision or
ing is made. The parties also shall be
ified of their right to appeal the decision
the next level...

78. Comments: Plaintiff was reinstated. However, upon being

reinstated,

the Defendant removed Plaintiff from his position.

The Defendant never informed Plaintiff of his right to appeal the

second dismissal to the next level which is outlined below:

Level

Iit

If the complaint cannot be resolved at Level II,
either party may present the complaint to the

Superi

ntendent or designee within 10 working days.

The Superintendent or designee shall review the

Level
compla

II investigation file, including the written
int and all responses from district staff.

The Superintendent or designee shall respond to the

compla

int in writing within 10 working days.

If the Superintendent or designee finds it

necess

ary to conduct further investigation, he/she

may designate up to 10 additional working days for

such
compla
comple

Level

investigation and shall respond to the
int in writing within 10 working days of
ting the investigation.

IV

If the matter is not resolved at Level III, either
party may file a written appeal to the Board within
10 working days after receiving the Level III

respon

se. The Superintendent or designee shall

4)
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 42 0f 51 Page ID #:94

provide the Board with all information presented at
previous levels.

The Board shall grant the hearing request for the
next regular Board meeting for which the matter can

be placed on the agenda. Any complaint against a
district employee shall be addressed in closed
session in accordance with law. The Board shall

render its decision within 10 working days.

Defendant’s Motives Constitute Evidence Of Pretext

The plaintiff must then prove that the employer's
reasons for its employment decision were pretextual
- that is, that they are false and that the real
reason for the employment decision was
discriminatory. Id. See Waldron v. SL Indus., Inc.,
56 F.3d 491, 494 (3d Cir. 1995) Aljadir v
Substitute Teacher Service (#02-464-GMS) USDC
District Of Delaware (2002)

79. Upon hiring Plaintiff back in 2002, he not only performed well
in his position of substitute teacher, the Defendant kept hiring
him back every year for eight years. Upon removing him, they
rehired him and then removed him again from his position.
Plaintiff has proved that he was performing satisfactorily. It is
inconceivable that Plaintiff would perform unsatisfactorily with
Defendant but perform satisfactorily at the other three school
districts to which he is still employed. Defendant did not use

anything in his favor to try to retain him.

80. For example, on 3 Feb 2011, Complainant was substituting for
Ms Gonzalez (also at Eastside Elementary), weeks before

Complainant substituted for Ms Shropshire on 7 Mar 2011. Ms

42
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 43 0f51 Page ID #:95

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Gonzalez requested Plaintiff to come back to her class. Due to
having another school to substitute at, Plaintiff could not be at
Gonzalez's class. Plaintiff called her, and Ms Gonzalez stated
that her students enjoyed him, and wanted to know if he was
available for a long term position because she was going on

maternity leave.

81. Plaintiff informed Dr. Marshall to contact Ms Gonzalez, but
Dr. Marshall declined, saying that she was on maternity leave.
Dr. Marshall never showed Plaintiff what Gonzalez wrote in her
review. Why would Dr. Marshall reflect on what Ms Shropshire
wrote and not review what Ms Gonzalez wrote weeks earlier? What
was wrong with calling Ms Gonzalez instead of trying to remove
Plaintiff from his position?
Conclusion: Defendant’s Actions Were Pretextual

Evidence of pretext may include ‘prior treatment of
plaintiff; the employer’s policy and practice
regarding minority employment (including
statistical data); disturbing procedural
irregularities; and the use of subjective criteria’
Garrett v Hewlett-Packard Co., 305 £.3d 1210, 1217
(10% Cir. 2202) (quotations omitted) Jaramillo v
Colorado Judicial Dept., 427 F.3d 1310 (10 Cir.
2005)

82. Plaintiff has shown Defendant’s actions were pretextual and
used discriminatory methods to remove Plaintiff from his
position. The Defendant acted “preciptiously” with a flimsy

investigation as stated by Gill v Reorganized School District R-

43
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 44 0f51 Page ID #:96

6, Festus Missouri 32 F.3d 376 (8 Cir. 1994), Heaney, Senior

Circuit Judge stated:

Superintendent Taylor acted precipitously and on a
slim investigatory foundation, did not ask whether
anyone had talked to the teacher about’ the
accusation, and failed to consult Principal
Richeson, who ordinarily handled such complaints,
before terminating this highly regarded substitute
teacher with longtime service to the school
district. Viewing the evidence as a whole, a trier
of fact could conclude that Taylor knew that the
accused teacher was Gill and that she was African-
American, and that he removed her from _ the
substitute teacher list because of her race. See
Rademaker v. Nebraska, 906 F.2d 1309, 1312 (8th
Cir.1990) (lack of in-depth investigation before
termination may support inference that employer's
motives were not legitimate).

83. Further evidence of pretext is what the 23 Mar 2012 letter
from EEOC stated what Defendant said:

Respondent states as of October 25, 2010, three of
the four District principals requested, on behalf
of their teachers, that you not serve on their
campuses. At that point, the Director of Human
Resources contacted you to inform you that your
services were no longer needed.

Respondent states that based on a complaint you
filed on November 1, 2010, Dr. Marshall, Director
of Student Services, decided to allow you to return
with the stipulation that you would not substitute
at Columbia Elementary or for any of the teachers
that had provided negative evaluations.

84. The Defendant states that three out of four principals did not

want Plaintiff on their campus based on responses from the

44
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 45 o0f51 Page ID #:97

teachers. However, after Plaintiff filed a complaint, Dr. Marshall
told Plaintiff that he talked to all four principals and that all
wanted Plaintiff to come back. How did all the principals change
their mind in a month’s time?

85. Upon being reinstated, Plaintiff agreed not to substitute for
any of the teachers that had given him poor evaluations. However,
Plaintiff did not stipulate that he would not substitute at
Columbia. In a statement to the EEOC, Defendant did not state why
Plaintiff could not substitute at Columbia because none of the
negative evaluations came from Columbia.

86. Additionally, it is odd that three out of four principals did
not want Plaintiff on their campus on behalf of their teachers,
but Plaintiff was not on their campuses a whole lot. For example,
between the 2009 - 2010 and 2010 - 2011, Plaintiff substituted for

the following schools:

 

School Number Of Times Substituted

 

 

 
 

Cole.

Sees

Tierra Bonita 62
Columbia 1

a

 

Eastside Elem

 

87. How is it possible for the teachers at these schools to not
want Plaintiff when he hardly substituted at those schools? The
only school that he substituted at the most was at Cole. Why
would Plaintiff agree to not substitute at Columbia when he only

was there one time? In fact, many of the principals were barely

45
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 46 0f 51 Page ID #:98

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into their jobs at this time period. For example, Mr. Pollack
(Cole) and Ms Deal (Eastside) were principals that were hired
during the 2009 - 2010 school year. Mr. Guerrero (Tierra Bonita)
and Francisco Pinto (Columbia) were hired during the 2008 - 2009
school year. It is not possible to know about Plaintiff's
performance for that short of a period as principal, especially

(except for Cole) when Plaintiff hardly was their school.

Relief Sought By Plaintiff

88. The conduct of Defendants caused injuries, damages and harm
to Plaintiff including, but not limited to, past and future
economic loss, past and future non-economic losses, including
extreme emotional distress, loss of reputation, shame,
humiliation, pain and suffering, inconvenience, mental anguish,

impairment in the quality of life; and consequential losses.

89. Plaintiff Vincent requests judgment and damages against all

Defendants, jointly, severally and/or individually, as follows:

A. A declaratory judgment that Defendants have violated
Plaintiff’s right to be free from discrimination in the workplace
pursuant to the Title VII of the Civil Rights Act of 1964, as
amended, 42 U.S.C. Sections 2000e, et seq.; the Civil Rights Act
of 1866, as amended by the Civil Rights Restoration Act of 1991.

B. Enter an injunction ordering Defendant Coors to make Plaintiff

whole with full back pay, benefits and reinstatement to a

46
. Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 47 of 51 Page ID #:99

position Plaintiff would have obtained in the absence of

discrimination or, in the alternative, front pay.

An equitable remedy is ‘to make whole relief’
designed to restore the complainant as much as
possible to the position he/she would have been
absent discrimination . Finlay v UPS EEOC Appeal
#01942985 (April 28, 1997) (citing Albermarle Paper
Co V Moody 422 U.S. 45 (1975)

C. An award to Plaintiff for compensatory damages in amount to be
shown at trial for past and future economic and non-economic
losses, including extreme emotional distress and mental anguish,

impairment of the quality of life; and consequential losses.

D. An award to Plaintiff for exemplary and/or punitive damages in

an amount to be shown at trial.

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that he/she is
the plaintiff in the above action, that he/she has read the above
complaint and that the information contained therein is true and

correct. 28 U.S.C. §1746; 18 U.S.C. § 1621.

Resp¢ctfully Submitted,

Lis hub,

Vincent White
Plaintiff

47
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 48 of 51 Page ID #:100

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge R. Gary Klausner and the assigned
discovery Magistrate Judge is Jacqueline Chooljian.

The case number on all documents filed with the Court should read as follows:

CV12- 4622 RGK (JCx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division Southern Division LJ Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

 

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 49 of 51 Page ID #:101

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRERCOURT
~

Central bien 4G:

Civil Action No.

Vineent C. Luhite,

Plaintiff

  
 

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Castsidas Union. Sch) Distick
USOO @ North 30th sireet Gast
Lancaster, CA 94536

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a}(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

   
  

 

Signature of Clerk or ae

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Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 50 o0f51 Page ID #:102

UNITED STATE = ISTRICT COURT, CENTRAL DISTRICT © CALIFORNIA
4 CIVIL COVER SHEET

et

 

I (a) PLAINTIFFS (Check box if you are representing yourself (1)

Vineonct Luhite,

DEFENDANTS

Eastside Une Sclvol Distice

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing
yourself, provide same.)

2604 WEST Oldfield Strot
Lancaster CA FaSAG bbl-140-4864

Attomeys (if Known)

Usoog, Both St GAST
LANCASTG? , CA 93535
(o617-9 4 b —- DEI

 

 

Ii. BASIS OF JURISDICTION (Place an X in one box only.) I. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
111 U.S. Government Plaintiff 3 Federal Question (U.S. PTF DEF PTF DEF
Government Not a Party) Citizen of This State 01 1 Incorporated or Principal Plae O04 O14
of Business in this State
(12 US. Government Defendant 14 Diversity (Indicate Citizenship | Citizen of Another State 2 2 Incorporated and Principal Place O5 O5
of Parties in Item HW) : of Business in Another State
Citizen or Subject of a Foreign Country 013 [13 Foreign Nation O6 06

 

 

IV. ORIGIN (Place an X in one box only.)

1 Original
Proceeding

(12 Removed from (13 Remanded from (14 Reinstated or
State Court

Appellate Court

Reopened

(95 Transferred from another district (specify):

O6 Multi- (17 Appeal to District
District Judge from
Litigation Magistrate Judge

 

L
V. REQUESTED IN COMPLAINT: JURY DEMAND: Wes (No (Check ‘Yes’ only if demanded in complaint.)

wh MONEY DEMANDED IN COMPLAINT: $. 3) OOO

CLASS ACTION under F.R.C.P. 23: 0 Yes
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are fi

No

ling and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

 

 

 

 

 

 

 

 

 

 

 

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See Oriana! ConplaintRraddirhmal cayseotachmn (42. USC Shaan 20S)
VII. NATURE OF SUIT (Place an X in gne box only.) “
OTHER STATUTES CONTRACT TORTS TORTS PRISONER LABOR -
[1400 State Reapportionment |[1 110 Insurance PERSONAL INJURY PERSONAL PETITIONS (1710 Fair Labor Standards
01410 Antitrust (3 120 Marine 1310 Airplane PROPERTY 11510 Motions to Act
(430 Banks and Banking (1130 Miller Act [1315 Airplane Product {[) 370 Other Fraud Vacate Sentence [1720 Labor/Mgmt.
(1450 Commerce/ICC (1 140 Negotiable Instrument Liability — (1371 Truth in Lending Habeas Corpus Relations
Rates/etc. (1150 Recovery of (3320 Assault, Libel & [1380 Other Personal [1530 General (1730 Labor/Mgmt.
1460 Deportation Overpayment & Slander . Property Damage jC 535 -Death Penalty Reporting &
(1470 Racketeer Influenced Enforcement of 11330 Fed. Employers’ 11} 385 Property Damage |] 540 Mandamus/ Disclosure Act
and Corrupt Judgment 1340 L iability __ Product Liability Other (1740 Railway Labor Act
Organizations (1151 Medicare Act O345 Monne Product BANKRUPTCY ©. 10550 Civil Rights 0790 Other Labor
11480 Consumer Credit [1152 Recovery of Defaulted Liability (1422 Appeal 28 USC {01555 Prison Condition Litigation
01490 Cable/Sat TV Student Loan (Excl. [1350 Motor Vehicle 158 FORFEITURE / (2791 Empl. Ret. Inc.
[1810 Selective Service Veterans) [1355 Motor Vehicle 11423 Withdrawal 28 PENALTY Security Act
11 850 Securities/Commodities/|O 153 Recovery of Product Liability USC 157 (2610 Agriculture PROPERTY RIGHTS
Exchange Overpayment of [1360 Other Personal CIVIL RIGHTS 11620 Other Food & {11 820 Copyrights
£1875 Customer Challenge 12 Veteran’s Benefits Injury 11441 Voting Drug (1830 Patent
USC 3410 (1160 Stockholders’ Suits [1362 Personal Injury- 442 Employment (1625 Drug Related 1 840 Trademark
11890 Other Statutory Actions [01 190 Other Contract Med Malpractice 443 Housing/Acco- Seizure of SOCIAL SECURITY
11891 Agricultural Act (1195 Contract Product (1365 Personal Injury- mmodations Property 21 USC JQ] 861 HIA (1395ff)
(1892 Economic Stabilization Liability Product Liability [11444 Welfare 881 1) 862 Black Lung (923)
Act (9196 Franchise (2368 Asbestos Personal [11445 American with [[7 630 Liquor Laws 0 863 DIWC/DIWW
(1 893 Environmental Matters REAL PROPERTY Injury Product Disabilities - 0640 R.R. & Truck (405(g))
(1 894 Energy Allocation Act [11210 Land Condemnation Liability Employment 650 Airline Regs 0 864 SSID Title XVI
[1895 Freedom of Info. Act {{1220 Foreclosure IMMIGRATION [1446 American with [1660 Occupational 17 865 RSI (405(g))
[3.900 Appeal of Fee Determi- {C1230 Rent Lease & Ejectment |71 462 Naturalization Disabilities - Safety /Health FEDERAL TAX SUITS
nation Under Equal (1240 Torts to Land Application Other (690 Other [1870 Taxes (U.S. Plaintiff
Access to Justice 9.245 Tort Product Liability {1463 Habeas Corpus- 17] 440. Other Civil or Defendant)
1950 Constitutionality of 2290 All Other Real Property Alien Detainee Rights (1871 IRS-Third Party 26
State Statutes (1465 Other Immigration USC 7609
Actions
FOR OFFICE USE ONLY: — Case Number: .

 

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

CV-71 (05/08)

CIVIL COVER SHEET

Page 1 of 2
Case 2:12-cv-04622-RGK-JC Document 3 Filed 06/01/12 Page 51 0f51 Page ID #:103
UNITED STAT ISTRICT COURT, CENTRAL DISTRIC] =. CALIFORNIA
CIVIL COVER SHEET

4
VIiI(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? cio O Yes
If yes, list case number(s):

 

VIH(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? who 0 Yes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) (1A. Arise from the same or closely related transactions, happenings, or events, or
CB. Call for determination of the same or substantially related or similar questions of law and fact, or
CIC. For other reasons would entail substantial duplication of labor if heard by different judges; or
CD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District, State if other than California; or Foreign Country, in which EACH named plaintiff resides.
(1__Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

LOS Angeles

 

 

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
()___Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country
Las An goles,

(c) List the County in this District; California County outside of this District, State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

 

 

 

County in this District:* California County outside of this District; State, if other than California, or Foreign Country

Los Angeles /

Note: d : Goin ig <a
X. SIGNATURE OF ATTORNEY (OR PRO RER): = \ { Za) Date L f ((h Dobe

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

 

 

 

 

 

 

 

 

 

 

Key to Statistical codes relating to Social Security Cases:
Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
US.C. (g)

 

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2
